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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 18-797V
                                     Filed: August 15, 2019
                                         UNPUBLISHED


    MOLLY ANDERSON,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU);
                                                             Damages Decision Based on Proffer;
    SECRETARY OF HEALTH AND                                  Influenza (Flu) Vaccine; Shoulder
    HUMAN SERVICES,                                          Injury Related to Vaccine
                                                             Administration (SIRVA)
                       Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
petitioner.
Sarah Christina Duncan, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

       On June 6, 2018, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleges that she suffered Shoulder Injury Related to Vaccine
Administration (“SIRVA”) as a result of her September 26, 2017 influneza (“flu”)
vaccination. Petition at 1. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

     On April 17, 2019, a ruling on entitlement was issued, finding petitioner entitled to
compensation for SIRVA. On August 14, 2019, respondent filed a proffer on award of

1 The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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compensation (“Proffer”) indicating petitioner should be awarded a lump sum payment
of $55,210.00, representing compensation for actual and projected pain and suffering
($55,000.00) and past unreimbursable expenses ($210.00). Proffer at 1-2. In the
Proffer, respondent represented that petitioner agrees with the proffered award. Id.
Based on the record as a whole, the undersigned finds that petitioner is entitled to an
award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $55,210.00, representing compensation for
actual and projected pain and suffering ($55,000.00) and past unreimbursable
expenses ($210.00) in the form of a check payable to petitioner, Molly Anderson.
This amount represents compensation for all damages that would be available under §
15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                      2
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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

                                                    )
 MOLLY ANDERSON,                                    )
                                                    )
                  Petitioner,                       )
                                                    )    No. 18-797V
 v.                                                 )    Chief Special Master Dorsey
                                                    )    ECF
 SECRETARY OF HEALTH AND HUMAN                      )
 SERVICES,                                          )
                                                    )
                  Respondent.                       )
                                                    )

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

          On June 6, 2018, Molly Anderson (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act”

or “Act”), alleging that she suffered a “Shoulder Injury Related to Vaccine Administration

(‘SIRVA’), resulting from adverse effects of an influenza (‘flu’) vaccine she received on

September 26, 2017.” Petition at 1. On April 16, 2019, the Secretary of Health and Human

Services (“respondent”) filed a Rule 4(c) Report indicating that this case is appropriate for

compensation under the terms of the Act, and on April 17, 2019, the Chief Special Master issued

a Ruling on Entitlement finding petitioner entitled to compensation. ECF No. 19; ECF No. 20.

I.        Items of Compensation

          A.     Pain and Suffering

          Respondent proffers that Molly Anderson should be awarded $55,000.00 in actual and

projected pain and suffering. This amount reflects that the award for projected pain and

suffering has been reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioner

agrees.
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       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents Molly Anderson’s expenditure of past

unreimbursable expenses related to her vaccine-related injury. Respondent proffers that

petitioner should be awarded past unreimbursable expenses in the amount of $210.00, as

provided under the Vaccine Act, 42 U.S.C. § 300aa-15(a)(1)(B). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to Molly Anderson should be made

through a lump sum payment as described below and requests that the Chief Special Master’s

decision and the Court’s judgment award the following1: a lump sum payment of $55,210.00,

representing compensation for pain and suffering ($55,000.00), and past unreimbursable

expenses ($210.00), in the form of a check payable to petitioner, Molly Anderson.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Molly Anderson:                              $55,210.00

                                              Respectfully submitted,

                                              JOSEPH H. HUNT
                                              Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              CATHARINE E. REEVES
                                              Deputy Director
                                              Torts Branch, Civil Division




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
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                                  ALEXIS B. BABCOCK
                                  Assistant Director
                                  Torts Branch, Civil Division

                                  s/ Sarah C. Duncan
                                  Sarah C. Duncan
                                  Trial Attorney
                                  Torts Branch, Civil Division
                                  U.S. Department of Justice
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DATED: August 14, 2019




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